 
    

        
		
        

        
        
        
        
        

        
		
        	
		SPRUILL v. STATE



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:SPRUILL v. STATE

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				SPRUILL v. STATE2018 OK CR 26Case Number: F-2016-629Decided: 07/19/2018ETHAN JOHNSON SPRUILL, Appellant v. STATE OF OKLAHOMA, Appellee.
Cite as: 2018 OK CR 26, __  __

				

&nbsp;



ORDER GRANTING MOTION FOR PUBLICATION



¶1 On May 17, 2018, a Summary Opinion was handed down in the above-styled proceeding. The opinion, amongst other things, addressed the applicability of 21 O.S.2011, § 1289.25, to the facts of this case. On May 29, 2018, the State of Oklahoma, by and through Mike Hunter, Attorney General of Oklahoma, and Theodore M. Peeper, Assistant Attorney General, filed a Motion for Publication and Brief in Support in the above-referenced matter.

¶2 For good cause shown, the Court GRANTS the State's request for publication, and the Summary Opinion, as corrected, is hereby released for publication. See A.R.M. v. State, 2011 OK CR 24, 260 P.3d 434.

¶3 IT IS THEREFORE THE ORDER OF THIS COURT that the Summary Opinion, as corrected and paragraphed, is hereby AUTHORIZED FOR PUBLICATION.

¶4 The Clerk of this Court is directed to transmit a copy of this order to the Court Clerk of Cleveland County; the District Court of Cleveland County, the Honorable Lori Walkley, District Judge; and counsel of record.

¶5 IT IS SO ORDERED.

¶6 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 19th day of July 2018.


/S/GARY L. LUMPKIN, Presiding Judge

/S/DAVID B. LEWIS, Vice Presiding Judge

/S/ROBERT L. HUDSON, Judge

/S/DANA KUEHN, Judge

/S/SCOTT ROWLAND, Judge


ATTEST:

John D. Hadden
Clerk








	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2011 OK CR 24, 260 P.3d 434, A.R.M. v. STATEDiscussed
Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 1289.25, Physical or Deadly Force Against IntruderCited


	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
